          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:01cr48-9


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
TIMNAH RUDISILL.          )
                          )


      THIS MATTER is before the Court on the Defendant’s “Emergency

Motion for Dismissal and/or Immediate Release Due to Lack of Jurisdiction

and Failure to State a Claim” [Doc. 535], filed June 4, 2010.

      On August 6, 2001, the Defendant and ten co-defendants were charged

in a single count Bill of Indictment with conspiracy to possess with intent to

distribute cocaine base and cocaine. [Superseding Bill of Indictment, Doc.

26]. Following a jury trial, the Defendant was found guilty on November 14,

2001. [Verdict Sheet, Doc. 180]. On July 24, 2002, the Court sentenced the

Defendant to a term of life imprisonment.       [Judgment, Doc. 277].       The

Defendant’s conviction and sentence were affirmed on appeal. United States

v. Rudisill, 75 F. App’x 157 (4th Cir. 2003). On May 18, 2005, the Defendant

filed a motion pursuant to 28 U.S.C. § 2255 to vacate his sentence. [Doc.



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334]. The Defendant’s motion was denied as untimely on May 24, 2005.

[Doc. 335]. The Defendant appealed, but the Fourth Circuit Court of Appeals

denied a certificate of appealability and dismissed his appeal on December

20, 2005. United States v. Rudisill, 159 F. App’x 506 (4th Cir. 2005).

      The Defendant now moves for an Order dismissing the Indictment and

his subsequent conviction. For grounds, the Defendant contends that the

original Bill of Indictment filed in this case named him in the caption but failed

to charge or name him in the actual charging count, and that the jury

mistakenly returned a guilty verdict on the original Bill of Indictment and not

on the Superseding Bill of Indictment under which he was actually charged.

      The Defendant bases his contention that he was tried on the original Bill

of Indictment on the fact that the Verdict Sheet refers to the charging

document as simply the “Bill of Indictment.” This argument is without merit.

The Verdict Sheet makes clear that the Defendant was found guilty of

conspiracy as charged in the Superseding Bill of Indictment. The reference

to the Superseding Bill of Indictment simply as the “Bill of Indictment” does not

invalidate the Defendant’s conviction.




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     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

“Emergency Motion for Dismissal and/or Immediate Release Due to Lack of

Jurisdiction and Failure to State a Claim” [Doc. 535] is hereby DENIED.

     IT IS SO ORDERED.



                                     Signed: June 17, 2010




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